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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF LOUISIANA

 DR. DOROTHY NAIRNE, JARRETT
 LOFTON, REV. CLEE EARNEST LOWE, DR.
 ALICE WASHINGTON, STEVEN HARRIS,
 ALEXIS CALHOUN, BLACK VOTERS
 MATTER CAPACITY BUILDING
 INSTITUTE, and THE LOUISIANA STATE
 CONFERENCE OF THE NAACP,
                                                       Civil Action No. 3:22-cv-00178
                               Plaintiffs,             SDD-SDJ
 v.

 R. KYLE ARDOIN, in his official capacity as
 Secretary of State of Louisiana

                               Defendant.


                         PLAINTIFFS’ RESPONSE TO
                DEFENDANTS’ JOINT POSITION ON TRIAL SCHEDULE

       Without having first conferred with Plaintiffs (as directed by this Court), Defendants filed

a notice stating that, of the two trial dates offered by the Court during the status conference held

on June 21, 2023, Defendants prefer trial to commence on November 27, 2023. ECF No. 92.

Stepping further outside this Court’s limited mandate, Defendants then engage in a lengthy

argument that trial in this matter should commence months later than the trial dates offered by this

Court and go so far as to suggest that no trial date need be set at all at this stage. As explained

further below, Plaintiffs prefer that trial in this matter commence on November 6, 2023, but can

stand ready for trial on November 27, 2023, and Defendants’ assertions that trial should be delayed

until January 2024 (or indefinitely) are baseless and should be ignored by this Court.

       First, as stated at the status conference, Plaintiffs are available for both November trial

dates that the Court proposed, either starting on November 6 or November 27, 2023. Plaintiffs




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prefer that the trial commence on November 6, 2023. Nevertheless, consistent with the Court’s

request that the parties respond with their preference as between those two dates, Plaintiffs hereby

notify the Court that they are available to proceed to trial on November 27, 2023.

         Second, as noted, Defendants failed to meet and confer with Plaintiffs regarding the trial

dates offered by this Court, let alone notify Plaintiffs that they intended to propose alternatives to

the two trial dates offered by the Court. The Court was clear at the status conference that the parties

were to confer and notify the Court of a mutually agreed upon trial date, and the Federal Rules of

Civil Procedure and this Court’s local rules also require the parties to meet and confer on

scheduling issues prior to seeking relief from the Court. But only after submitting its filing and

after this Court submitted a minute entry repeating its clear mandate, Defendants offered to confer

as to which of the two November trial dates Plaintiffs preferred. And, in response to Plaintiffs’

offer to do so, Defendants declined Plaintiffs’ suggestion that they withdraw their filing and instead

draft the simple, joint submission requested by this Court. Because Defendants had already made

their position known to the Court in a filing in which they made misleading arguments and

suggested an alternative trial date the Court had not offered, Plaintiffs are now compelled to

respond.

         Third, Plaintiffs agree with the Court that time is of the essence in this matter, and

completing a trial on the merits as soon as possible is necessary to allow for the potential for a

meaningful remedy if Plaintiffs prevail on their claims under Section 2 of the Voting Rights Act. 1

A trial well in advance of November 2024 will ensure that, if Plaintiffs succeed on the merits and


1
  Defendants also repeat their argument, made at the status conference, that Plaintiffs would not be entitled to the
remedy of a special election even if they prevail on the merits. As the Court observed at the status conference, the
Court need not resolve the question of Plaintiffs’ right to a special election in order to set an expedited trial and
schedule. Because the Court already indicated it will not decide the special election issue at this juncture, Plaintiffs
will respond to Defendants’ arguments at the appropriate time.




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obtain a judgment in their favor, there will be adequate time to put such a remedy in place

consistent with the principles set forth in Purcell v. Gonzalez, 549 U.S. 1 (2006). 2

         Fourth, Defendants’ arguments that trial in November 2023 would be unduly burdensome

for their clients is not persuasive. If the trial commences on November 27, 2023, that would be

after the 2023 general election and after the bulk of the Secretary’s and other election officials’

administrative work for the fall elections has been completed, and after any candidates running for

office have completed their campaigning. More importantly, extensive additional discovery and

factual preparation should not be needed: the discovery needs in Section 2 vote dilution claims are

limited, because the evidence in such cases consists primarily of expert testimony. Moreover,

significant discovery in this case was completed prior to the entry of the stay. Consistent with this

Court’s original scheduling order, Plaintiffs identified their expert witnesses and served their initial

expert reports in July 2022, and the legal standards applicable to the analysis of that evidence has

not changed since that time. This means Defendants have had over ten months to review Plaintiffs’

reports and prepare their own. Given that context, it is feasible for this matter to proceed to trial in

November 2023 without prejudice or any significant burden to either side.

         Fifth, Defendants suggest that the Supreme Court has indicated that the results of elections

that occur while a voting case is pending can be useful in reaching the correct legal decision. See

Purcell v. Gonzalez, 549 U.S. 1, 6 (2006) (Stevens, J. concurring). 3 But there is no requirement

that courts wait to evaluate the merits of redistricting cases even if the results of impending future


2
 To the extent the Court is inclined to consider Defendants’ request for a January 2024 trial (though it should not):
Plaintiffs would not oppose deferring trial until January 2024 on the condition that Defendants enter into a stipulation
providing that, if judgment is entered in favor of Plaintiffs no later than March 31, 2024, and if the Court orders a
special election in November 2024, they waive any argument under Purcell v. Gonzalez that the implementation of
new state legislative maps prior to the 2024 election would be untimely or infeasible or would cause confusion for
voters, candidates, or election officials.
3
 While Justice Stevens’s concurrence noted that such election results might be useful, the per curiam majority does
not address this subject.



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elections might be useful—indeed, it is difficult to see how voting rights cases would ever be

resolved if such a requirement existed, because the next election on the horizon could always yield

additional evidence for consideration, as would the next election after that, and so on. And it is not

clear that it would even be possible to conduct analysis on Louisiana’s October and November

2023 elections in advance of Defendants’ proposed January 2024 trial date. Any deadline for

disclosure of expert opinions would be several months before a January trial, and most likely,

before the relevant data from those elections became available for analysis.

       Furthermore, there were a number of relevant elections in 2022 while this case has been

pending. The parties’ experts will be able to provide analysis of those elections within expert

disclosure deadlines established by any new scheduling order and in advance of the November 27,

2023 trial date. The Court, therefore, will have the benefit of relevant evidence from very

contemporary elections when reaching its decision on Plaintiffs’ Section 2 claims.

       Finally, any benefit of awaiting additional election results is outweighed by the risk that

deferring resolution of Plaintiffs’ claims may preclude relief prior to the next scheduled election

or may require a special election to be conducted on a date other than the date of a regularly

scheduled election, increasing the costs and burdens for voters and election officials.

                                             *    *   *

       An expedited trial best ensures that the fundamental right to vote is protected and avoids

the risk that Purcell concerns will require Plaintiffs and similarly situated voters to live with

unlawful districts for years. For the foregoing reasons, the Court should proceed with trial in this

matter on November 27, 2023.



DATED: June 22, 2023                               Respectfully submitted,




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